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 DEFENDANT:       MICHAEL AARON TEW

 YOB:             1979

 COMPLAINT        ____X__ Yes      ____ ___ No
 FILED?
                  If Yes, MAGISTRATE CASE NUMBER 20mj88-KLM

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT? __X_ Yes                 ___ ____ No
 If No, a new warrant is required

 OFFENSE(S):      Count 1: 18 U.S.C. § 1349 (Attempt and Conspiracy)

                  Count 2: 18 U.S.C. § 1957 (Engaging in Monetary Transactions in
                  Property Derived from Specified Unlawful Activity)

                  Count 3: 26 U.S.C. § 7201 (Attempt to Evade or Defeat Tax)

 LOCATION OF      Denver County, Colorado
 OFFENSE:

 PENALTY:         Count 1: NMT 20 years’ imprisonment; NMT a $250,000 fine or 2
                  times the amount of gain or loss, whichever is greater, or both
                  imprisonment and a fine; NMT 5 years’ supervised release, and a
                  $100 special assessment fee.

                  Count 2: NMT 10 years’ imprisonment, NMT a $250,000 fine or two
                  times the amount laundered, whichever is greater, or both
                  imprisonment and a fine; NMT 3 years’ supervised release; $100
                  special assessment fee.

                  Count 3: NMT 5 years’ imprisonment, NMT than a $250,000 fine; or
                  both imprisonment and a fine; not more than 3 years’ supervised
                  release; costs of prosecution, and a $100 special assessment fee.

 AGENT:           FBI SA Sarah Anderson
                  IRS-CI SA Lisa Palmer
                  IRS-CI SA Melinda Wilgus


 AUTHORIZED       Assistant U.S. Attorney Hetal J. Doshi
 BY:              First Assistant U.S. Attorney Matthew T. Kirsch




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 ESTIMATED TIME OF TRIAL:

     five days or less      ___X_ over five days              ____ other

 THE GOVERNMENT

        will seek detention in this case based on 18 U.S.C. § 3142(f)(2)

 ___X___ will not seek detention

 The statutory presumption of detention is not applicable to this defendant.




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